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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF OKLAHOMA

NEXSTAR MEDIA, INC. d/b/a KFOR-TV;                )
DYLAN BROWN; KEVIN JOSEFY;                        )
GAGE SHAW,                                        )
                                                  )
                 Plaintiffs,                      )
                                                  )
v.                                                )      Case No. CIV-24-980-J
                                                  )
RYAN WALTERS, State Superintendent of             )
Public Instruction; DAN ISETT, Press              )
Secretary for the Oklahoma State Department       )
of Education, in their official and individual    )
capacities,                                       )
                                                  )
                 Defendants.                      )

                                              ORDER

         Before the Court is Plaintiffs Nexstar Media, Inc., doing business as KFOR-TV, Dylan

Brown, Kevin Josefy, and Gage Shaw’s (collectively KFOR) Motion for Temporary Restraining

Order and Preliminary Injunction. [Doc. No. 4]. KFOR filed its brief in support separately.

(KFOR’s Br.) [Doc. No. 5]. For the reasons that follow, KFOR’s motion is granted to the extent

it seeks a temporary restraining order (TRO). The Court will address KFOR’s request for a

preliminary injunction in a future order.

I.       Background

         On September 23, 2024, KFOR filed suit against Oklahoma State Superintendent of Public

Instruction Ryan Walters and Oklahoma State Department of Education Press Secretary Dan Isett.

[Doc. No. 1].1 The complaint, filed pursuant to 42 U.S.C. § 1983, alleges that Walters and Isett

have violated KFOR’s First Amendment rights by repeatedly denying its reporters access to




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    All page citations refer to the Court’s CM/ECF pagination.
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Oklahoma State Board of Education (OSBE) meetings and subsequent press conferences held by

Walters at the Oklahoma State Capitol complex—all because of KFOR’s editorial stance. See id.

at 2–14. Specifically, for meetings and press conferences held on March 28, June 27, July 31, and

August 22, 2024—events open to credentialled news media—KFOR claims that its reporters, and

its reporters alone, have been (1) relegated to an “overflow” room to watch the meetings via video

feed, and (2) fully denied access to follow-up press conferences held by Walters. See id. KFOR

seeks declaratory and injunctive relief to ensure its ability to attend future OSBE meetings and

press conferences. See id. at 15–18. Walters and Isett have allegedly barred KFOR from these

events on grounds that it is not a “legitimate” news organization, despite its credentials. Id. at 13.

       Also on September 23, 2024, KFOR moved for a TRO and preliminary injunction to secure

full access to upcoming OSBE meetings and press conferences, including those scheduled for

September 26, 2024. See [Doc. Nos. 4, 5]. KFOR’s motion was accompanied by written

declarations detailing how its reporters were placed in overflow rooms and physically obstructed

from attending press conferences, despite holding proper press credentials. [Doc. Nos. 4-1, 4-2].

The motion was also supported by video evidence showing instances of the same, including

footage of KFOR reporters being denied entry to press conferences and being told that their

organization lacked legitimacy. [Doc. Nos. 4-3, 4-4, 4-5]. The Court set the matter for a TRO

hearing, [Doc. No. 9], which took place today with counsel for both sides present to argue their

respective positions, [Doc. No. 13].

II.    Legal Standard for a TRO

       In determining whether to grant a TRO, a court must analyze the following factors: (1)

whether the movant has a substantial likelihood of success on the merits; (2) whether irreparable

harm will ensue if the request for a TRO is denied; (3) whether the threatened injury outweighs



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the harm that the TRO may cause the defendant; and (4) whether, if issued, the TRO will not

adversely affect the public interest. See Gen. Motors Corp. v. Urb. Gorilla, LLC, 500 F.3d 1222,

1226 (10th Cir. 2007). “[I]n First Amendment cases, the likelihood of success on the merits will

often be the determinative factor.” Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145

(10th Cir. 2013) (internal quotation marks omitted), aff’d sub nom. Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682 (2014). Because a TRO “is an extraordinary remedy, the movant’s right to

relief must be clear and unequivocal.” Dominion Video Satellite, Inc. v. Echostar Satellite Corp.,

269 F.3d 1149, 1154 (10th Cir. 2001).

III.   Discussion

       A.      Likelihood of Success on the Merits

       The crux of KFOR’s First Amendment challenge lies in its assertion that Walters and Isett

have relegated KFOR, a credentialled news organization, to an overflow room for OSBE meetings

and completely denied its access to follow-up press conferences, all because of its viewpoint. See

KFOR’s Br. at 6–29. “While newsgathering has some First Amendment protection, its protection

does not necessarily include a right to access all news-worthy information.” Mocek v. City of

Albuquerque, 3 F. Supp. 3d 1002, 1056 (D.N.M. 2014). “It has generally been held that the First

Amendment does not guarantee the press a constitutional right of special access to information not

available to the public generally.” Branzburg v. Hayes, 408 U.S. 665, 684 (1972) (collecting

cases); see also Smith v. Plati, 258 F.3d 1167, 1178 (10th Cir. 2001) (“It is well-settled that there

is no general First Amendment right of access to all sources of information within governmental

control.”). There is, then, “no basis for the claim that the First Amendment compels others—

private persons or governments—to supply information.” Houchins v. KQED, Inc., 438 U.S. 1,

11 (1978). For instance, reporters “have no constitutional right of access to the scenes of crime or



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disaster when the general public is excluded, and they may be prohibited from attending or

publishing information about trials if such restrictions are necessary to assure a defendant a fair

trial before an impartial tribunal.” Branzburg, 408 U.S. at 684–85.

       “Once [the State] has opened a . . . forum, however, the State must respect the lawful

boundaries it has itself set.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

(1995); see also Ateba v. Jean-Pierre, 706 F. Supp. 3d 63, 75 (D.D.C. 2023) (discussing the First

Amendment’s “protections when journalists are denied access to areas the government has

specifically opened to the press”). “Recent [circuit] cases . . . have accepted the premise that the

denial of a reporter’s access to a press briefing is a cognizable First Amendment violation,

reviewable in the traditional framework of a First Amendment forum and subject to an order

requiring not only due process, but access.” Ateba, 706 F. Supp. 3d at 76 (collecting cases); see

also John K. Maclver Inst. for Pub. Pol’y, Inc. v. Evers, 994 F.3d 602, 611–12 (7th Cir. 2021)

(“[First Amendment] forum analysis is not merely about who has the right to speak on government

property. It also addresses who has the right of access to government property to engage in various

expressive pursuits—whether that expressive pursuit is leafletting teachers, soliciting charitable

donations, wearing political buttons at a polling place, or gathering information for news

dissemination.”). Indeed, the press may challenge those laws “hav[ing] a close enough nexus to

expression, or to conduct commonly associated with expression, to pose a real and substantial

threat of the identified censorship risks.” City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S.

750, 759 (1988).

       “To determine when and to what extent the Government may properly limit expressive

activity on its property, the Supreme Court has adopted a range of constitutional protections that

varies depending on the nature of the government property, or forum.” Verlo v. Martinez, 820



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F.3d 1113, 1129 (10th Cir. 2016). “The Supreme Court has sorted government property into the

following categories: traditional public forums, designated public forums, limited public forums,

and nonpublic forums.” Pollak v. Wilson, No. 22-8017, 2022 WL 17958787, at *1 (10th Cir. Dec.

27, 2022) (unpublished) (brackets and internal quotation marks omitted). KFOR maintains that it

has been restricted from engaging in expressive activity within a limited public forum. KFOR’s

Br. at 21.

        A limited public forum “exists where a government has reserved a forum for certain groups

or for the discussion of certain topics.” Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,

576 U.S. 200, 215 (2015) (brackets and internal quotation marks omitted). There, a government

may restrict speech “so long as the distinctions drawn are reasonable in light of the purpose served

by the forum and are viewpoint neutral.” Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473

U.S. 788, 806 (1985); see also Pryor v. Coats, 203 F.3d 836, 2000 WL 147388, at *3 (10th Cir.

Feb. 9, 2000) (unpublished table decision) (observing the Supreme Court’s abandonment of “the

strict scrutiny test in favor of a reasonableness standard [for limited public forums], requiring that

the state show that its restrictions are reasonable in light of the purpose of the forum and that the

restrictions are viewpoint neutral”). A restriction is viewpoint-based if it “denies access to a

speaker solely to suppress the point of view he espouses on an otherwise includible subject.”

Cornelius, 473 U.S. at 806. “The reasonableness of the regulation of speech in a limited public

forum is evaluated in light of the forum’s purposes and ‘all the surrounding circumstances.’”

People for the Ethical Treatment of Animals, Inc. v. Kan. State Fair Bd., 891 F. Supp. 2d 1212,

1227 (D. Kan. 2012) (quoting Cornelius, 473 U.S. at 809). “In conducting this inquiring, the

court’s purpose is simply to find a reasonable decision, and ‘it need not be the most reasonable or

the only reasonable limitation.’” Id. (quoting Cornelius, 473 U.S. at 809). “Reasonableness is a



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relatively low bar,” NAACP v. City of Philadelphia, 834 F.3d 435, 443 (3d Cir. 2016), but “requires

something more than the toothless ‘rational basis’ test used to review the typical exercise of a

state’s police power,” Price v. Garland, 45 F.4th 1059, 1072 (D.C. Cir. 2022).

       With these standards in mind, and after considering all written submissions, evidence, and

arguments presented at today’s hearing, the Court finds that KFOR is likely to succeed on its First

Amendment claim. “While the line between viewpoint-based and viewpoint-neutral content

discrimination can be slippery,” Iancu v. Brunetti, 588 U.S. 388, 418 (2019) (Sotomayor, J.,

concurring in part, dissenting in part) (internal quotation marks omitted), Defendants’ conduct in

barring KFOR from attending OSBE meetings and denying access to press conferences—while

allowing other credentialed media to attend—appears largely motivated by the viewpoint of

KFOR’s publications. Though Defendants insisted today that the restrictions were imposed due

to KFOR’s repeated publication of “falsehoods,” even vaguely referencing several instances in

support,2 the Court finds this justification to be little more than a ruse, masking an effort to punish

a news organization for its editorial stance. This effort is particularly troubling given that the

standards for what constitutes a “falsehood” appear arbitrary and are determined by the very

officials who are the subject of KFOR’s critical reporting. See Forsyth Cnty. v. Nationalist

Movement, 505 U.S. 123, 130 (1992) (“A government regulation that allows arbitrary application

is ‘inherently inconsistent with a valid time, place, and manner regulation because such discretion

has the potential for becoming a means of suppressing a particular point of view.’” (quoting

Heffron v. Int’l Soc’y for Krishna Consciousness, Inc., 452 U.S. 640, 649 (1981)).




2
 There is no indication that Defendants have taken any steps to prosecute KFOR for these alleged
“falsehoods.”
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          Newsgathering is the lifeblood of free speech—the essential precursor to the dissemination

of information and ideas that the public needs to form opinions, participate in democratic

processes, and hold those in power accountable. Greenlighting a governmental attempt to restrict

access to a limited public forum based on its unilateral determination that a news organization’s

reporting is factually untrue amounts to an unworkable standard. Such a standard, indeed, would

empower the government to act as the final arbiter of truth, chilling investigative journalism and

suppressing dissenting viewpoints. See Ateba, 706 F. Supp. 3d at 82 (“A rule limiting press access

without objective, workable standards could encourage journalists to self-censor to obtain access,

and shelter decisionmakers from accountability if they excluded reporters based on their

comments.”). The First Amendment has never permitted the government to silence the press

simply because it disagrees with the content of its reporting.

          B.     Irreparable Harm

          The Court further finds that denying KFOR access to the upcoming OSBE meeting and

press conference on September 26 would cause irreparable harm. When constitutional rights—

particularly First Amendment rights—are at stake, the harm is inherently irreparable.           The

Supreme Court has acknowledged that “[t]he loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976).

          C.     Harms and Public Interest3

          Finally, the Court finds that the balance of harms favors KFOR and that a TRO does not

disserve the public interest.      On the one hand, KFOR faces the prospect of continued




3
 Elements three and four merge “when the Government is the opposing party.” Nken v. Holder,
556 U.S. 418, 435 (2009).
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unconstitutional exclusion in violation of the First Amendment. On the other hand, allowing

KFOR access imposes no discernible harm on Defendants, aside from those typically associated

with free speech and press.

       And “[i]t is always in the public interest to prevent the violation of a party’s constitutional

rights.” Pryor v. Sch. Dist. No. 1, 99 F.4th 1243, 1254 (10th Cir. 2024) (internal quotation marks

omitted). It is no coincidence that the very first of the constitutional amendments addresses the

freedom of speech. The framers undeniably understood that, so long as there was government,

there would be those in power seeking to subvert or suppress the people’s right to criticize it. This

country had just declared its independence from a monarchy hostile to free and open discussion.

Therefore, despite creating a system of limited government and enumerated powers, the framers

recognized then—as we do now—that the right to free speech is a fundamental prerequisite to the

success of the republic. This, no doubt, is what separates this country from authoritative regimes,

where government control over information and the press stifles public discourse and suppresses

dissent.

IV.    Conclusion

       For the reasons set forth herein, KFOR’s Motion for Temporary Restraining Order and

Preliminary Injunction [Doc. No. 4] is granted to the extent it seeks a TRO. State Superintendent

Ryan Walters and Press Secretary Dan Isett, along with their officers, agents, and all persons acting

under or in concert with them, are hereby ENJOINED, for 14 days from today’s date, September

25, 2024, from (1) denying KFOR access to the room in which Oklahoma State Board of Education

meetings are held; (2) barring KFOR from Walters’ follow-up press conferences; and (3)

physically obstructing or impeding KFOR’s reporters when they attend these meetings or press

conferences. No security bond is required under Federal Rule of Civil Procedure 65(c).



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IT IS SO ORDERED this 25th day of September, 2024.




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